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                       Exhibit 6
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 1      IN THE UNITED STATES DISTRICT COURT                        1   APPEARANCES:
 2       FOR THE EASTERN DISTRICT OF OHIO                          2
 3               EASTERN DIVISION                                  3           ROBBINS GELLER RUDMAN & DOWD LLP
 4                    - - -                                                    BY: AELISH MARIE BAIG, ESQUIRE
 5   IN RE: NATIONAL      : MDL NO. 2804                           4           BY: MATTHEW S. MELAMED, ESQUIRE
     PRESCRIPTION OPIATE :                                                     Post Montgomery Center
 6   LITIGATION           :                                        5           One Montgomery Street
     -----------------------------------------                                 Suite 1800
 7                        : CASE NO.                               6           San Francisco, California 94104
     THIS DOCUMENT        : 1:17-MD-2804
 8
                                                                               (415) 288-4545
     RELATES TO ALL CASES :
                                                                   7           aelishb@rgrdlaw.com
                          : Hon. Dan A.
 9                        : Polster                                            Mmelamed@rgrdlaw.com
                                                                   8           Representing the Plaintiffs
     ____________________________________________
10                                                                 9
                                                                  10
      SUPREME COURT OF THE STATE OF NEW YORK
11               COUNTY OF NEW YORK                                            KIRKLAND & ELLIS LLP
12   IN RE OPIOID          : Index No. 400000/2017                11           BY: MARTIN L. ROTH, ESQUIRE
     LITIGATION            : Suffolk County                                    BY: ZACHARY A. CUILLO, ESQUIRE
13   ______________________________________________               12           300 North LaSalle
            CIRCUIT COURT OF COOK COUNTY                                       Chicago, Illinois 60654
14              COOK COUNTY, ILLINOIS                             13           (312) 862-2000
15   THE PEOPLE OF THE     : Case No. 2017L 013180                             martin.roth@kirkland.com
     STATE OF ILLINOIS,    : Consolidated with                    14           Zac.ciullo@kirkland.com
16   AND COOK COUNTY       : 2018L 3908(JERSEY COUNTY)                         Representing Allergan Finance, LLC
     ILLINOIS              : 2018L 2943(KANE COUNTY)              15
17                         : 2018L 2916(MACON COUNTY)             16
             V.            : 2018L 2948(MCHENRY                   17           JONES DAY
18                         : COUNTY)
                                                                               BY: BRANDY HUTTON RANJAN, ESQUIRE
                           : 2018L 3728(LAKE COUNTY)              18
19
                                                                               325 John H. McConnell Boulevard
     PURDUE PHARMA, L.P. : 2018L 3909(UNION COUNTY)
                                                                               Suite 600
     ET AL.                :
                                                                  19           Columbus, Ohio 43215
20
                   - - -                                                       (614) 469-3939
21                                                                20           branjan@jonesday.com
                 JENNIFER ALTIER
             Thursday, August 2, 2018                                          Representing Walmart, Inc.
22                    - - -                                       21
23   HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER                     22
              CONFIDENTIALITY REVIEW                              23
24                                                                24

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 1                      -    -   -                                 1   APPEARANCES:    (Continued)
                                                                   2
 2                  Videotaped deposition of                       3           WILLIAMS & CONNOLLY LLP
 3   JENNIFER ALTIER, taken pursuant to                                        BY: ANDREW C. MCBRIDE, ESQUIRE
                                                                   4           725 Twelfth Street NW
 4   notice, was held at the law offices of
                                                                               Washington, D.C. 20005
 5   Carella Byrne Cecchi Olstein Brody & Agnello,                 5           (202) 434-5000
                                                                               amcbride@wc.com
 6   PC, 5 Becker Farm Road, Roseland, New Jersey                  6           Representing Cardinal Health
 7   07068, beginning at 9:05 a.m., on the above                   7
                                                                   8           ALLEGAERT BERGER & VOGEL
 8   date, before Amanda Dee Maslynsky-Miller, a                               BY: LAUREN J. PINCUS, ESQUIRE
 9   Certified Realtime Reporter.                                  9           111 Broadway
                                                                               20th Floor
10                                                                10           New York, New York 10006
11                      -    -   -                                             (212) 616-7057
                                                                  11           lpincus@abv.com
12
                                                                               Representing Rochester Drug Cooperative
13                                                                12
                                                                  13   VIA TELECONFERENCE:
14                                                                14
15                                                                             REED SMITH LLP
                                                                  15           BY: ANNE E. ROLLINS, ESQUIRE
              GOLKOW LITIGATION SERVICES                                       Three Logan Square, 1717 Arch Street
16                                                                16           Suite 3100
          877.370.3377 ph| 917.591.5672 fax
                                                                               Philadelphia, Pennsylvania 19103
                   deps@golkow.com                                17           (215) 851-8100
17                                                                             arollins@reedsmith.com
                                                                  18           Representing AmerisourceBergen
18                                                                19
                                                                  20           MARCUS & SHAPIRA LLP
19
                                                                               BY: ZACHARY FENSTEMAKER, ESQUIRE
20                                                                21           One Oxford Centre
21                                                                             35th Floor
                                                                  22           Pittsburgh, Pennsylvania 15219
22                                                                             (412) 338-3345
                                                                  23           Fenstemaker@marcus-shapira.com
23
                                                                               Representing HBC Service Company
24                                                                24

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 1   BY MS. BAIG:                                                        1           A.     That's correct.
 2           Q.      Well, do you know whether                           2           Q.     Why were you hired?
 3   there was a sales rep in Ohio?                                      3           A.     I was hired because Actavis
 4           A.      I assume there was, yes.                            4   had just received a warning letter,
 5           Q.      Are you aware that Actavis                          5   earlier that year, on the promotional
 6   sells opioids in Ohio?                                              6   materials they were using, and I was
 7                   MR. ROTH:          Object to the                    7   brought in to create new materials.
 8           form.    Vague as to time frame and                         8           Q.     What process did you go
 9           who you're talking about.                                   9   through to revise the company's
10   BY MS. BAIG:                                                       10   promotional materials for Kadian?
11           Q.      When you were there.                               11           A.     Sure.    We created materials
12           A.      And by "sell opioids,"                             12   that were based exclusively on the
13   promote opioids to physicians?                                     13   product label, approved by the FDA.        I
14           Q.      Yes.                                               14   like to -- I always used to like to call
15           A.      So if we had a sales rep                           15   it a colorful PI.
16   there, yes, they were promoting opioids                            16                  We created those materials,
17   to physicians.                                                     17   we submitted them through our promotional
18           Q.      Do you know who that sales                         18   review committee process, which consisted
19   rep was?                                                           19   of legal and regulatory review, to make
20           A.      No.                                                20   sure that we were compliant.       And those
21           Q.      If you wanted to find out                          21   materials were produced and given to the
22   who that sales rep was, who would you go                           22   sales force.
23   to?                                                                23           Q.     And how would you describe
24           A.      I would probably call one of                       24   the marketing materials you produced for

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 1   the sales directors.                                                1   Kadian?
 2                   MS. BAIG:          I have no further                2           A.     Let's see.    Benign,
 3           questions.        Thank you.                                3   conservative, very straightforward,
 4                   THE WITNESS:          Thank you.                    4   modeled after the label.
 5                   MR. ROTH:          Can we take a                    5           Q.     What interaction did you
 6           short break, so I can consult with                          6   have with the inVentiv sales reps during
 7           co-counsel, and then we'll come                             7   your tenure at Actavis while the inVentiv
 8           back on?                                                    8   contract was still ongoing?
 9                   VIDEO TECHNICIAN:          The time                 9           A.     Sure.    My role was marketing
10           is 4:04 p.m.          Off the record.                      10   director, I would present the marketing
11                         -    -    -                                  11   materials to them.
12                   (Whereupon, a brief recess                         12           Q.     And how would you describe
13           was taken.)                                                13   the inVentiv sales reps' promotion of
14                      -      -    -                                   14   Kadian?
15                   VIDEO TECHNICIAN:          We are                  15           A.     Again, you know, they were
16           back on the record.            The time is                 16   trained on what -- the safety and the
17           4:16 p.m.                                                  17   efficacy of the product; they stuck to
18                         -    -    -                                  18   the materials that they were given, which
19                     EXAMINATION                                      19   was, basically, you know, a colorful
20                         -    -    -                                  20   version of the PI; instructed to provide
21   BY MR. ROTH:                                                       21   appropriate safety that was in the
22           Q.      Ms. Altier, you testified                          22   materials with every detail.
23   earlier that you joined Actavis in the                             23           Q.     Did Actavis ever hire a
24   summer of 2010; is that correct?                                   24   speakers bureau for Kadian?

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 1           A.     No.                                             1                        -    -    -
 2           Q.     Did Actavis ever sponsor a                      2   BY MS. PINCUS:
 3   continuing medical education seminars                          3           Q.     Ms. Altier --
 4   related to Kadian?                                             4                  VIDEO TECHNICIAN:          So you
 5           A.     No.                                             5           probably do want to come because
 6           Q.     Did Actavis ever fund                           6           you need a microphone.
 7   clinical or other scientific studies for                       7                        -    -    -
 8   the purpose of promoting Kadian?                               8                  (Whereupon, a discussion off
 9           A.     Not during my tenure, no.                       9           the record occurred.)
10           Q.     Did Actavis ever hire key                      10                      -     -    -
11   opinion leaders for the purposes of                           11   BY MS. PINCUS:
12   promoting Kadian?                                             12           Q.     Good afternoon, Ms. Altier.
13           A.     No.                                            13   My name is Lauren Pincus, and I'm here on
14           Q.     Did Actavis ever engage pain                   14   behalf of Rochester Drug Cooperative.
15   advocacy or other patient advocacy                            15                  I realize it's been a long
16   organizations for the purposes of                             16   day, so I'll try and be brief.
17   promoting Kadian?                                             17           A.     Thank you.
18           A.     No.                                            18           Q.     Are you familiar with
19           Q.     Why did Actavis adopt such a                   19   Rochester Drug Cooperative?
20   benign and conservative marketing                             20           A.     No.
21   strategy for Kadian?                                          21           Q.     Do you recall having any
22           A.     We were at the end of our                      22   dealings with Rochester Drug Cooperative
23   product lifecycle.       Generic competition                  23   during your time at Actavis?
24   was imminent.    Our goal was to maintain                     24           A.     No, not that I recall.

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 1   product share.                                                 1                  MS. PINCUS:          No further
 2           Q.     When did Actavis stop                           2           questions.
 3   detailing physicians and pharmacies for                        3                  MR. ROTH:          Does anyone on
 4   Kadian in person?                                              4           the phone have any questions for
 5           A.     The merger with Watson, the                     5           the witness?
 6   Watson management made the decision to                         6                  MR. DIAMANTATOS:          Yes.    This
 7   let the sales force go at the end of                           7           is Tinos Diamantatos, from Morgan
 8   2012.                                                          8           Lewis on behalf of the Teva
 9           Q.     We saw some documents and                       9           defendants.
10   heard testimony today related to MoxDuo.                      10                        -    -    -
11                  Do you remember that?                          11                  (Whereupon, a discussion off
12           A.     I do.                                          12           the record occurred.)
13           Q.     Was MoxDuo ever marketed or                    13                        -    -    -
14   sold?                                                         14   BY MR. DIAMANTATOS:
15           A.     It was not.                                    15           Q.     Can you hear me now?
16           Q.     And why not?                                   16           A.     Yes.
17           A.     It was not approved by the                     17           Q.     Terrific.
18   FDA.                                                          18                  Ms. Altier, how are you?
19                  MR. ROTH:      That's all I have               19   Nice to meet you --
20           for now.                                              20                  MS. BAIG:          Have you
21                  MS. BAIG:      I have nothing                  21           cross-noticed this deposition?
22           further.                                              22           Who is taking questions now,
23                        -   -   -                                23           exactly.
24                    EXAMINATION                                  24                  MR. DIAMANTATOS:          I can't

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